                                            Case 3:16-cv-03742-JST Document 68 Filed 06/25/18 Page 1 of 11




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7    C.R., et al.,                                       Case No. 16-cv-03742-JST
                                                        Plaintiffs,
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                                                                                            ORDER GRANTING IN PART AND
                                                 v.                                         DENYING IN PART DEFENDANTS’
                                   9
                                                                                            MOTION FOR SUMMARY JUDGMENT
                                  10    CITY OF ANTIOCH, et al.,
                                                                                            Re: ECF No. 50
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           Before the Court is Defendants’ motion for summary judgment. ECF No. 50. The Court

                                  14   will grant the motion in part and deny it in part.

                                  15   I.      BACKGROUND

                                  16           Rakeem Rucks died after a June 10, 2015 interaction with City of Antioch police officers.

                                  17   His mother and children bring this suit alleging violations of the Fourth and Fourteenth

                                  18   Amendments and various state laws.

                                  19           Many of the facts are undisputed. Defendant Officers Casey Brogdon and Chris Kidd

                                  20   responded to a 911 call from a male, later determined to be Rucks, reporting that people were

                                  21   chasing and trying to shoot him. Although the location was initially vague, dispatch subsequently

                                  22   directed the officers to the Delta Pines apartment complex and informed them that the caller had

                                  23   mentioned apartment 160.

                                  24           Brogdon and Kidd found the door to apartment 160 to be open, with a broken door jamb.

                                  25   They did not see anyone in the apartment, nor did it appear that the contents of the apartment had

                                  26   been disturbed. Outside the apartment, they spoke with neighbors, who told them that the 911

                                  27   caller was the person who broke down the door, that he was not being chased, and that he was

                                  28   high on drugs.
                                           Case 3:16-cv-03742-JST Document 68 Filed 06/25/18 Page 2 of 11




                                   1           Lawrence Pernell, the resident of apartment 160, arrived on the scene and confirmed that

                                   2   he did not see anything missing from his apartment. Unidentified witnesses told Pernell that

                                   3   Rucks was the person who broke the door of his apartment. Pernell identified Rucks to Brodgon

                                   4   and Kidd when they saw Rucks at the top of a stairwell in another building of the same apartment

                                   5   complex.

                                   6           Kidd recognized Rucks from a previous interaction, a year and half or two years prior, in

                                   7   which he witnessed a different officer pursue Rucks on foot. During that pursuit, Rucks stopped

                                   8   and turned to face the officer, appearing ready to fight. The officer then used force to take Rucks

                                   9   to the ground and subsequently arrested him.

                                  10           Brogdon and Kidd asked Rucks to come downstairs to speak with them. Rucks complied,

                                  11   and Brogdon handcuffed Rucks, with his hands behind his back, without incident. Based on

                                  12   Rucks’s appearance, both officers believed that he was under the influence of drugs.
Northern District of California
 United States District Court




                                  13           The officers planned to detain Rucks in Brogdon’s patrol car while they continued to

                                  14   investigate. Brogdon was walking with Rucks, while Kidd and Pernell followed. Rucks initially

                                  15   was responsive to questions but subsequently became increasingly “aggressive,” according to

                                  16   Brogdon, ECF No. 50-1 at 45, and “agitated,” according to Pernell, ECF No. 61-3 at 6.1 Brogdon

                                  17   testified that Rucks “was pulling aways [sic] from me and trying to turn around and face me.”

                                  18   ECF No. 50-1 at 43. Brogdon tried to pull Rucks to the ground by the shoulder, but he was unable

                                  19   to do so. Kidd then performed a leg sweep, and Rucks landed on the ground, in an area with grass

                                  20   and dirt.

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                                         Defendants object to the Court’s consideration of deposition transcripts submitted by Plaintiffs
                                       on grounds that “Plaintiffs failed to attach any certification by any Court reporter, certifying the
                                  23   witnesses were sworn and that the pages are true and correct versions of the record.” ECF No. 66
                                       at 19. However, the deposition transcripts submitted with Plaintiffs’ amended opposition include
                                  24   the required certifications. ECF No. 61-2 at 48, 99; ECF No. 61-3 at 35, 56; ECF 61-4 at 56; see
                                  25   ECF No. 59 (order striking original opposition for failure to comply with Civil Local Rules and
                                       setting deadline for filing amended opposition). Although the transcripts submitted with
                                  26   Plaintiffs’ original opposition did not have the certifications, the Court finds no prejudice to
                                       considering Plaintiffs’ submitted deposition transcripts, which now include the proper
                                  27   certifications. Defendants had an opportunity to reply to the amended opposition on its merits. In
                                       addition, they rely on the same deposition transcripts, including some of the same testimony,
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                                       relied on by Plaintiffs.
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                                          Case 3:16-cv-03742-JST Document 68 Filed 06/25/18 Page 3 of 11




                                   1          Rucks continued to move around, even though he was handcuffed and on his stomach,

                                   2   with his face on the ground but pointing to the side. The officers testified that Rucks was reaching

                                   3   at Kidd’s duty belt, which contained tools and weapons. Kidd placed Rucks into a figure-four leg

                                   4   hold, and Brogdon held down Rucks’s upper body. At one point, Brogdon also pulled Rucks’s

                                   5   hands towards his head so that Kidd’s duty belt would be out of reach. The record is unclear

                                   6   whether Brogdon used only his upper body to hold Rucks down, or whether Brodgon ever held his

                                   7   knee against Rucks’s jaw and neck areas and, if so, for how long. The officers told Rucks to calm

                                   8   down and that they were not trying to hurt him.

                                   9          Defendant Corporal Rick Smith responded to the scene while Brogdon, Kidd, and Rucks

                                  10   were on the ground. He determined that Rucks should be placed in a WRAP device, a type of

                                  11   body restraint. He did not have one in his vehicle, so he called another officer to respond to the

                                  12   scene with a WRAP. Smith observed that Rucks was “surprisingly able to lift [Kidd] up in the air
Northern District of California
 United States District Court




                                  13   off that hold, basically with one leg.” ECF No. 50-3 at 9. He ran over to assist Brogdon and

                                  14   Kidd, and he joined Brogdon in trying to hold down Rucks’s upper body. He also tried to calm

                                  15   Rucks by calling him “by his first name and trying to see if I can establish a rapport,” saying,

                                  16   “‘Calm down. We’re not here to hurt you.’” Id. at 12, 14. At some point, Rucks calmed down

                                  17   “[d]ramatically,” “stopped bucking around, stopped trying to kick Officer Kidd off,” and he made

                                  18   eye contact with Smith. Id. at 12-14.

                                  19          As Rucks’s legs were being placed in the WRAP, Smith “noticed that something’s not

                                  20   right.” Id. at 20. He directed the officers to roll Rucks over, and Smith could find no pulse. Fire

                                  21   personnel arrived around the same time, and an ambulance arrived shortly thereafter.

                                  22          Rucks was pronounced dead later that day. An autopsy performed four days after his death

                                  23   concluded that the cause of death was, “Cardiopulmonary arrest while in struggle with officers

                                  24   while under the influence of methamphetamine (minutes).” ECF No. 50-3 at 40. Rucks’s blood

                                  25   tested positive for methamphetamine, at a level of 340 nanograms per milliliter.

                                  26          The parties dispute whether Rucks expressed difficulty breathing during his encounter with

                                  27   Defendants. Pernell testified that he heard Rucks say at some point while he was on the ground,

                                  28   “Get me up out of the dirt. I’m breathing dirt. It’s hard to breathe.” ECF No. 61-3 at 14. He
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                                             Case 3:16-cv-03742-JST Document 68 Filed 06/25/18 Page 4 of 11




                                   1   recalled one officer “ma[king] a comment like, if you would quit agitating and be still we’ll gladly

                                   2   pick you up out [of] the dirt, or something of that nature.” Id. When asked whether “it sound[ed]

                                   3   like [Rucks] was heaving, like he was having trouble catching his breath,” Pernell responded,

                                   4   “Just more out of breath than anything.”2 ECF No. 50-2 at 68. The officers testified that they

                                   5   never heard Rucks say he could not breathe. Smith also testified that Rucks’s breathing was not

                                   6   any different from what he would expect of “someone in a struggle. . . . My officers were

                                   7   breathing heavy. I was breathing heavy because we’re struggling with a gentleman that’s ‒ I

                                   8   believe he was almost bigger than me and he was abnormally strong.” ECF No. 50-3 at 18.

                                   9            Defendants now move for summary judgment on all claims.

                                  10   II.      LEGAL STANDARD

                                  11            Summary judgment is proper when a “movant shows that there is no genuine dispute as to

                                  12   any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).
Northern District of California
 United States District Court




                                  13   A dispute is genuine only if there is sufficient evidence “such that a reasonable jury could return a

                                  14   verdict for the nonmoving party,” and a fact is material only if it might affect the outcome of the

                                  15   case. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). When deciding a motion for

                                  16   summary judgment, the court must draw “all justifiable inferences” in the nonmoving party’s

                                  17   favor and may not weigh evidence or make credibility determinations. Id. at 255.

                                  18            Where the party moving for summary judgment would bear the burden of proof at trial,

                                  19   that party “has the initial burden of establishing the absence of a genuine issue of fact on each

                                  20   issue material to its case.” C.A.R. Transp. Brokerage Co. v. Darden Rests., Inc., 213 F.3d 474,

                                  21   480 (9th Cir. 2000). Where the party moving for summary judgment would not bear the burden of

                                  22   proof at trial, that party “must either produce evidence negating an essential element of the

                                  23   nonmoving party’s claim or defense or show that the nonmoving party does not have enough

                                  24   evidence of an essential element to carry its ultimate burden of persuasion at trial.” Nissan Fire &

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                                  26    Plaintiffs also cite an audio interview with Andral Hill as evidence that Rucks said that he could
                                       not breathe. ECF No. 61 at 9. The cited evidence appears to be an audio interview with a police
                                  27   detective. The audio recording has not been authenticated, and the Court therefore cannot
                                       consider it at summary judgment. Orr v. Bank of Am., 285 F.3d 764, 773 (9th Cir. 2002). In
                                  28
                                       addition, Hill’s statements do not appear to have been made under oath.
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                                          Case 3:16-cv-03742-JST Document 68 Filed 06/25/18 Page 5 of 11




                                   1   Marine Ins. Co. v. Fritz Cos., 210 F.3d 1099, 1102 (9th Cir. 2000). If the moving party satisfies

                                   2   its initial burden of production, the nonmoving party must produce admissible evidence to show

                                   3   that a genuine issue of material fact exists. Id. at 1102-03. If the nonmoving party fails to make

                                   4   this showing, the moving party is entitled to summary judgment. Celotex Corp. v. Catrett, 477

                                   5   U.S. 317, 322-23 (1986).

                                   6   III.   DISCUSSION

                                   7          A.      Fourth Amendment Claim

                                   8          Plaintiffs’ Fourth Amendment claim is based on their contention that Defendants used

                                   9   unreasonable force on Rucks after he was already handcuffed. “Determining whether the force

                                  10   used to effect a particular seizure is ‘reasonable’ under the Fourth Amendment requires a careful

                                  11   balancing of the nature and quality of the intrusion on the individual’s Fourth Amendment

                                  12   interests against the countervailing governmental interests at stake.” Graham v. Connor, 490 U.S.
Northern District of California
 United States District Court




                                  13   386, 396 (1989) (internal quotation marks and citations omitted). This analysis “requires careful

                                  14   attention to the facts and circumstances of each particular case, including the severity of the crime

                                  15   at issue, whether the suspect poses an immediate threat to the safety of the officers or others, and

                                  16   whether he is actively resisting arrest or attempting to evade arrest by flight.” Id. These factors

                                  17   “are not exclusive,” and courts must “examine the totality of the circumstances.” Bryan v.

                                  18   MacPherson, 630 F.3d 805, 826 (9th Cir. 2010). “The ‘reasonableness’ of a particular use of force

                                  19   must be judged from the perspective of a reasonable officer on the scene, rather than with the

                                  20   20/20 vision of hindsight.” Graham, 490 U.S. at 396.

                                  21          The Ninth Circuit has “held on many occasions that summary judgment or judgment as a

                                  22   matter of law in excessive force cases should be granted sparingly. This is because police

                                  23   misconduct cases almost always turn on a jury’s credibility determinations.” Santos v. Gates, 287

                                  24   F.3d 846, 853 (9th Cir. 2002) (citation omitted). Additionally, cases where “the victim of alleged

                                  25   excessive force has died pose a particularly difficult problem in assessing whether the police acted

                                  26   reasonably, because the witness most likely to contradict the officers’ story is unable to testify.”

                                  27   Gregory v. County of Maui, 523 F.3d 1103, 1107 (9th Cir. 2008) (internal quotation marks,

                                  28   alterations, and citation omitted).
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                                          Case 3:16-cv-03742-JST Document 68 Filed 06/25/18 Page 6 of 11




                                   1          Two Ninth Circuit cases are particularly relevant to the Court’s analysis of the facts

                                   2   presented by this case. First, in Drummond ex rel. Drummond v. City of Anaheim, the Ninth

                                   3   Circuit held that the defendant “officers ‒ indeed, any reasonable person ‒ should have known that

                                   4   squeezing the breath from a compliant, prone, and handcuffed individual despite his pleas for air

                                   5   involves a degree of force that is greater than reasonable.” 343 F.3d 1052, 1059 (9th Cir. 2003).

                                   6   In Drummond, witnesses testified that the officers put their knees and body weight on

                                   7   Drummond’s neck and back. Id. at 1054. Five years later, the Ninth Circuit held that officers’ use

                                   8   of force to restrain an individual who threatened officers with a pen was reasonable and not

                                   9   excessive, even though the individual “repeatedly shouted that he could not breathe, which [one

                                  10   officer] told him was impossible because he could talk.” Gregory, 523 F.3d at 1105-07. The court

                                  11   distinguished Drummond in part because the officers “ceased using force once Gregory was

                                  12   handcuffed.” Id. at 1109 (citing Drummond, 343 F.3d at 1057-58 (“After he was knock[ed] . . . to
Northern District of California
 United States District Court




                                  13   the ground where the officers cuffed his arms behind his back as [he] lay on his stomach, a jury

                                  14   could reasonably find that he posed only a minimal threat to anyone’s safety.” (alterations and

                                  15   omissions in Gregory)).

                                  16          The facts of this case are similar to Drummond. Unlike the force found to be reasonable in

                                  17   Gregory, all of the force at issue in this case occurred after Rucks was already handcuffed with his

                                  18   hands behind his back, and much of it occurred while he was on the ground in a prone position. In

                                  19   addition, the amount of pressure applied by the officers is in dispute. Although the officers

                                  20   testified that they did not use their entire body weight to restrain Rucks, a jury might “find the

                                  21   officers’ testimony that they were restrained in their use of force not credible.” Santos, 287 F.3d

                                  22   at 852. Likewise, although a jury might agree with Pernell, who testified that he did not think

                                  23   Brogdon and Kidd did anything “inappropriate” to Rucks, and that they were “holding that man

                                  24   down, because if he’d have got up he would have got away from them, point blank, period,” a

                                  25   reasonable juror might reach a different conclusion. ECF No. 66-1 at 62. Viewing the evidence in

                                  26   a light most favorable to Plaintiffs, as the Court must at summary judgment, a jury might

                                  27   disbelieve the officers’ recollection that Rucks never said he was struggling to breathe and instead

                                  28   believe testimony that Rucks explicitly made such statements. A jury might also find that Rucks
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                                           Case 3:16-cv-03742-JST Document 68 Filed 06/25/18 Page 7 of 11




                                   1   was moving around because he was having a hard time breathing, rather than because he was

                                   2   being combative. Unlike in Bel-Montez v. City of Stockton, a case on which Defendants rely, it

                                   3   would be reasonable for a jury to infer that a reasonable officer in Defendants’ position would

                                   4   have known that Rucks could not breathe. Case No. 2:10-cv-03149-MCE-EFB, 2017 WL

                                   5   2633412, at *3 n.2 (E.D. Cal. June 19, 2017) (concluding that, “[a]bsent any other relevant

                                   6   evidence and given [the decedent’s] continuous resistance to the officers,” it would “not be a

                                   7   reasonable inference” that the decedent’s lifting of his head “would alert a reasonable officer that

                                   8   [the decedent] was unable to breathe”). This material disputed fact prevents a conclusion at

                                   9   summary judgment that Defendants’ use of force was reasonable.

                                  10           Defendants also argue that even if the force used by Defendants was unreasonable, there is

                                  11   no dispute that the officers’ actions did not cause Rucks’s death. The Court disagrees. Plaintiffs

                                  12   present expert testimony from Dr. Daniel Spitz that “restraint asphyxiation” was a contributory
Northern District of California
 United States District Court




                                  13   cause to Rucks’s death. Ex. 61-2 at 6-7.3 Spitz further opined “that had the police officers not

                                  14   engaged Rakeem Rucks in this type of restraint, there is no evidence to support the conclusion that

                                  15   Mr. Rucks would have died when he did.” Id. at 7. At his deposition, Spitz explained that “we do

                                  16   have multiple factors going on here,” including methamphetamine usage and an enlarged heart,

                                  17   but that the officers’ use of “an active prone restraint . . . impaired [Rucks’s] ability to effectively

                                  18   breathe.” ECF No. 66-1 at 52. He further opined that the officers’ actions “caused compromised

                                  19   breathing which at some point, probably within a couple of minutes prior to him being found

                                  20   unresponsive, actually caused, yes, impaired his ability to breathe to the point where he did

                                  21   become hypoxic. That level of hypoxia combined with the other situations, the other conditions,

                                  22   caused his death.” Id. at 52-53. Defendants repeatedly contend that Plaintiffs’ expert’s opinion is

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                                         Defendants object to the consideration of Spitz’s report on grounds that his “opinions are based
                                  24   on manufactured facts by Plaintiffs, not supported by evidence and are completely speculative.”
                                  25   ECF No. 66 at 19. The Court addresses this objection in the body of the order below. Defendants
                                       further object to the report because “Plaintiffs’ failed to file any timely [declaration] by Spitz
                                  26   swearing to his report under penalty of perjury.” Id. Plaintiffs filed such a declaration, ECF No.
                                       65, but did not do so until one day after the deadline for filing their amended opposition.
                                  27   Although Plaintiffs should have filed the declaration with their original opposition, Defendants
                                       responded to the merits of Spitz’s report in their reply, and the Court finds no prejudice to
                                  28
                                       accepting the late declaration.
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                                          Case 3:16-cv-03742-JST Document 68 Filed 06/25/18 Page 8 of 11




                                   1   based on “manufactured facts,” e.g., ECF No. 66 at 13-14, but those facts – including how much

                                   2   pressure Defendants applied to Rucks and whether they were able to do so for sustained periods of

                                   3   time – are disputed questions for the jury to decide. Defendants’ objections to Spitz’s conclusions

                                   4   go to the weight rather than the admissibility of his testimony. Defendants will be free at trial to

                                   5   argue to the jury that they should disbelieve Spitz’s opinions, but the Court cannot make such

                                   6   credibility determinations at summary judgment. Anderson, 477 U.S. at 255.

                                   7          Finally, Defendants argue that they are entitled to qualified immunity because, even if their

                                   8   use of force was excessive, their conduct did not “violate clearly established statutory or

                                   9   constitutional rights of which a reasonable person would have known.” Harlow v. Fitzgerald, 457

                                  10   U.S. 800, 818 (1982). Again, the Court disagrees. The qualified immunity doctrine

                                  11   “acknowledge[s] that reasonable mistakes can be made as to the legal constraints on particular

                                  12   police conduct. . . . An officer might correctly perceive all of the relevant facts but have a
Northern District of California
 United States District Court




                                  13   mistaken understanding as to whether a particular amount of force is legal in those

                                  14   circumstances.” Saucier v. Katz, 533 U.S. 194, 205 (2001). An officer is entitled to qualified

                                  15   immunity “[i]f the officer’s mistake as to what the law requires is reasonable.” Id. In this case, if

                                  16   a jury were to believe the officers’ version of events and find that they did not hear Rucks

                                  17   complain of breathing difficulties, that they never pressed their full body weight into Rucks, and

                                  18   that they were applying only whatever pressure they felt was necessary to restrain a person who

                                  19   was resisting arrest and posed a safety risk, then Defendants would be entitled to qualified

                                  20   immunity. However, as discussed above, a jury might reach contrary conclusions under which

                                  21   Defendants’ use of force would have been unreasonable. These “unresolved issues of fact are also

                                  22   material to a proper determination of the reasonableness of the officers’ belief in the legality of

                                  23   their actions.” Espinosa v. City & Cty. of San Francisco, 598 F.3d 528, 532 (9th Cir. 2010). If a

                                  24   reasonable officer would have known that Rucks was having difficulty breathing, or would have

                                  25   concluded that Rucks did not pose a significant safety threat while he was handcuffed in a prone

                                  26   position and was not actively resisting the officers or attempting to free himself, then concluding

                                  27   that the law allowed the continued application of significant pressure to hold Rucks down would

                                  28   have been unreasonable. See Drummond, 343 F.3d at 1058-62; Gregory, 523 F.3d at 1108-09.
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                                          Case 3:16-cv-03742-JST Document 68 Filed 06/25/18 Page 9 of 11




                                   1   Disputed facts therefore prevent the grant of qualified immunity at summary judgment.

                                   2           The three cases cited by Defendants on reply do not change the result of this analysis.

                                   3   Two cases, one of which is unpublished, are from the Sixth Circuit. In one case, the subject of

                                   4   force “had engaged in significant destruction of private property and assaulted” a third party, and

                                   5   he was deemed to “pose[] an immediate threat to himself, the officers, the staff members, and the

                                   6   other residents” of a group home. Cook v. Bastin, 590 F. App’x 523, 530 (6th Cir. 2014). He was

                                   7   also “attempting to free himself” from handcuffs. Id. Similarly, in the second case, the subject

                                   8   had “caused significant property damage, was a threat to the officers and to others, and resisted

                                   9   arrest during an episode of excited delirium.” Roell v. Hamilton Cty., 870 F.3d 471, 485 (6th Cir.

                                  10   2017), reh’g denied (Sept. 21, 2017). The officers also observed that he “was holding objects that

                                  11   could be used as weapons.” Id. These facts are materially distinguishable from those that a jury

                                  12   might find in this case. In neither of the Sixth Circuit cases did the individual complain of
Northern District of California
 United States District Court




                                  13   breathing problems. A jury might also conclude that Rucks had no weapons, did not pose an

                                  14   immediate threat after being handcuffed, and was not trying to free himself.

                                  15           The third case relied on by Defendants is also distinguishable. In James v. Oakland Police

                                  16   Department, the district court granted qualified immunity on an excessive force claim because “the

                                  17   evidence in the record does not establish a violation of [the plaintiff’s] Fourth Amendment rights.”

                                  18   No. 13-CV-00011-SI, 2016 WL 3230704, at *9 (N.D. Cal. June 13, 2016). The Court has already

                                  19   determined that a jury might conclude otherwise in this case. In addition, there was no indication

                                  20   that the plaintiff in James complained of breathing difficulties, and the court’s description of the

                                  21   plaintiff’s injuries focused on potential injuries from the officers’ use of a Taser prior to

                                  22   handcuffing, not from the “minor uses of force” used to “take the struggling James to the ground

                                  23   and hold him while handcuffing him, and holding him on the ground until the ambulance arrived.”

                                  24   Id. at *7.

                                  25           B.     Other Claims Against Individual Defendants

                                  26           Defendants’ motion for summary judgment on Plaintiffs’ other claims against the

                                  27   individual Defendants rests on their argument that Defendants did not use unreasonable force.

                                  28   The Court has already determined that whether Defendants’ use force was reasonable cannot be
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                                         Case 3:16-cv-03742-JST Document 68 Filed 06/25/18 Page 10 of 11




                                   1   resolved at summary judgment. The Court therefore also denies summary judgment on Plaintiffs’

                                   2   Fourteenth Amendment claim and state law claims against the individual Defendants.

                                   3          C.      Monell Claim

                                   4          Finally, under Monell v. Department of Social Services, “a local government may not be

                                   5   sued under § 1983 for an injury inflicted solely by its employees or agents. Instead, it is when

                                   6   execution of a government’s policy or custom, whether made by its lawmakers or by those whose

                                   7   edicts or acts may fairly be said to represent official policy, inflicts the injury that the government

                                   8   as an entity is responsible under § 1983.” 436 U.S. 658, 694 (1978). Plaintiffs assert that

                                   9   Defendant City of Antioch is liable under a failure to train or ratification theory, but the only

                                  10   evidence they cite regarding their Monell claim is sixteen lines from the deposition transcript of

                                  11   Defendant Brogdon at pages 108 and 109. ECF No. 61 at 26-28. The Court cannot consider this

                                  12   evidence because Plaintiffs failed to present those pages of Brogdon’s deposition to the Court.
Northern District of California
 United States District Court




                                  13   See ECF No. 61-2 at 9-48 (excerpts from Brogdon deposition, not including pages 108 or 109).

                                  14   Moreover, while a municipality may be held liable for an officer’s actions based on a ratification

                                  15   theory, “[t]o show ratification, a plaintiff must prove that the ‘authorized policymakers approve a

                                  16   subordinate’s decision and the basis for it.’ . . . [I]t is well-settled that a policymaker’s mere

                                  17   refusal to overrule a subordinate’s completed act does not constitute approval.” Christie v. Iopa,

                                  18   176 F.3d 1231, 1239 (9th Cir. 1999) (quoting City of St. Louis v. Praprotnik, 485 U.S. 112, 127

                                  19   (1988)). The cited deposition testimony does not even purport to demonstrate who the authorized

                                  20   policymakers were or that they approved the actions by the individual Defendants in this case.

                                  21   Likewise, although Plaintiffs contend that the individual Defendants received inadequate training,

                                  22   they present no evidence on what training the officers did or did not receive, nor do they present

                                  23   any evidence as to how Defendants’ training was inadequate or why the City’s use of force policy

                                  24   is inadequate. See ECF No. 50-3 at 67-72 (City of Antioch Police Department Policy No. 16: Use

                                  25   of Force). Plaintiffs also fail to present any evidence of a pattern or practice of similar uses of

                                  26   force by City of Antioch police officers. Because Plaintiffs have presented no evidence of an

                                  27   official policy or custom, they have failed to meet their burden of demonstrating a genuine issue of

                                  28   material fact on their Monell claim. Defendants are therefore entitled to summary judgment.
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                                         Case 3:16-cv-03742-JST Document 68 Filed 06/25/18 Page 11 of 11




                                   1                                            CONCLUSION

                                   2          Defendants’ motion for summary judgment is granted in part and denied in part. The

                                   3   motion is granted as to Plaintiffs’ Monell claim and denied in all other respects. Evidentiary

                                   4   objections not addressed in this order are denied as moot because the Court did not consider the

                                   5   disputed evidence.

                                   6          IT IS SO ORDERED.

                                   7   Dated: June 25, 2018
                                                                                       ______________________________________
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                                                                                                     JON S. TIGAR
                                   9                                                           United States District Judge

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Northern District of California
 United States District Court




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